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                                               415

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
             Plaintiff,                             )
                                                    )
       vs.                                          )       Case No. 4:09CR00444CDP
                                                    )
JOSHUA WASHINGTON,                                  )
                                                    )
             Defendant.                             )


                                               ORDER

           On Motion of Defendant, and for good cause shown, Defendant’s Motion to Reduce

Bond (Doc. #184) shall be Granted. Defendant shall be released on a $10,000 bond, secured by

property or 10% in cash, with electronic monitoring and other standard and special conditions of

release.

           Dated this 1st day of September, 2009.



                                               AUDREY G. FLEISSIG
                                               UNITED STATES MAGISTRATE JUDGE
